  Case: 1:17-md-02804-DAP Doc #: 3235 Filed: 03/23/20 1 of 4. PageID #: 492230




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                    MDL No. 2804

THIS DOCUMENT RELATES TO:                            Case No. 1:17-md-2804

Cleveland Bakers and Teamsters Health                Hon. Dan Aaron Polster
and Welfare Fund, et al. v. Purdue Pharma
L.P., et al., Case No. 1:18-op-45432-DAP


     DISTRIBUTORS’ MOTION FOR LEAVE TO FILE A MOTION TO CERTIFY
       UNDER 28 U.S.C. § 1292(b) THE COURT’S FEBRUARY 21, 2020 ORDER
     DENYING IN PART THEIR MOTION TO DISMISS THIRD-PARTY PAYOR
      CLAIMS, FOR PURPOSES OF SEEKING IMMEDIATE APPEAL OF THE
      COURT’S RULINGS THAT DENIED DISMISSAL OF THE RICO CLAIMS

       Defendants AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson

Corporation (“Distributors”) respectfully request leave to file a motion to certify under 28 U.S.C.

§ 1292(b) the Court’s February 21, 2020 Opinion and Order, Dkt. 3177 (“Order”) denying in part

their motion to dismiss claims asserted by Cleveland Bakers and Teamsters Health and Welfare

Fund and Pipe Fitters Local Union No. 120 Insurance Fund, for purposes of an immediate appeal

of the Court’s rulings that denied dismissal of the RICO claims.

       Attached hereto are Distributors’ proposed motion, memorandum of law in support of that

motion, and a proposed order granting Distributors’ motion for Section 1292(b) certification. See

Exs. A–C. For the reasons explained in Distributors’ memorandum of law, see Ex. B, certification

for purposes of an immediate appeal of the Court’s rulings that denied dismissal of the RICO

claims is warranted. Accordingly, Distributors request leave to file the attached motion and

supporting papers.
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DATED:        March 23, 2020                    Respectfully submitted,


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  Case: 1:17-md-02804-DAP Doc #: 3235 Filed: 03/23/20 3 of 4. PageID #: 492232




                               CERTIFICATE OF SERVICE

       I, Mark H. Lynch, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.



                                                   /s/ Mark H. Lynch
                                                   Mark H. Lynch
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                   MDL No. 2804

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Cleveland Bakers and Teamsters Health               Hon. Dan Aaron Polster
and Welfare Fund, et al. v. Purdue Pharma
L.P., et al., Case No. 1:18-op-45432-DAP


[PROPOSED] ORDER GRANTING DISTRIBUTORS’ MOTION FOR LEAVE TO FILE
 A MOTION TO CERTIFY UNDER 28 U.S.C. § 1292(b) THE COURT’S FEBRUARY 21,
   2020 ORDER DENYING IN PART THEIR MOTION TO DISMISS THIRD-PARTY
  PAYOR CLAIMS, FOR PURPOSES OF SEEKING IMMEDIATE APPEAL OF THE
      COURT’S RULINGS THAT DENIED DISMISSAL OF THE RICO CLAIMS

       This matter having come before the Court upon motion by Defendants AmerisourceBergen

Drug Corporation, Cardinal Health, Inc., and McKesson Corporation (“Distributors”) for leave to

file a Motion to Certify for Interlocutory Appeal Under 28 U.S.C. § 1292(b) the Court’s February

21, 2020 Order Denying in Part their Motion to Dismiss Third-Party Payor Claims for Purposes

of Seeking Immediate Appeal of the Court’s Ruling that Denied Dismissal of the RICO claims;

the Court having reviewed the motion and related papers; due and proper notice having been

provided; and after due deliberation, the Court finds that Distributors’ motion should be

GRANTED.

       SO ORDERED this __ day of ________, 2020.



                                            __________________________________________

                                            HON. DAN AARON POLSTER
                                            UNITED STATES DISTRICT JUDGE
